       Case 1:24-cr-00239-CKK Document 26-1 Filed 09/10/24 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.

DOUGLAS EDELMAN
                                                        Case No. 24-cr-239 (CKK)
and

DELPHINE LE DAIN,

       Defendants.


  DECLARATION OF MARION ALLISON ROCKER-TUOHY IN SUPPORT OF
             MOTION FOR ADMISSION PRO HAC VICE

      Pursuant to D.C. Local Rule 44.1, I, Marion Allison Rocker-Tuohy, declare the following:

      1.     My full name is Marion Allison Rocker-Tuohy.

      2.     I am an attorney with the firm Baker & McKenzie, LLP. Under the firm’s flexible

             working policy, I practice law entirely remotely from the State of Colorado. I do

             not maintain a law office in the District of Columbia, although administratively I

             am associated with the firm’s office in the District of Columbia.

      3.     My address is PO Box 3938, Evergreen, Colorado 80437. My telephone number is

             303-906-9558.

      4.     I am admitted to and a member in good standing of the U.S. District Court for the

             District of Colorado, the Courts of the State of Colorado, and the District of

             Columbia Bar.

      5.     I live and practice law in the State of Colorado.

      6.     I certify that I have never been disciplined by any bar.




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Case 1:24-cr-00239-CKK Document 26-1 Filed 09/10/24 Page 2 of 2
